EXHIBIT C
VIRGINIA:
                                               'J.C'-J 11 '1r-.'h"1n
                    IN THE CIRCUIT COURT OF LOU'liuENLuuuia;\9: 30
                                                                         :
HARRY KAMIN,                                                         ('
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Individually and Derivatively on behalf of                    l : ~-',.      3 ,_,....,., .   l;,., ,; , • f '(~~ ,.·.~;
BNG GROUP LLC                                               ru · c-:______ _ __~J.C .
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       Plaintiff,

       v.                                                    Case No:CL-21-1557


VALERIA GUNKOVA
    Defendant.


                                  AMENDED COMPLAINT

       Harry Kamin, both individually and derivatively on behalf of BNG Group, LLC, by

counsel, and pursuant to this Court's July 6, 2021 Order, hereby files the following Amended

Complaint against Defendant Valeria Gunk.ova, and for his causes of action, states as follows:


                                JURISDICTION AND VENUE

       1.      This Court has subject..matter jurisdiction pursuant to Virginia Code § 17 .1-513.

       2.      This Court has general personal jurisdiction over Defendant Valeria Gunkova

pursuant to Va. Code§ 8.01-328.l(A).

       3.      Venue of this Court is proper pursuant to Va. Code§ 8.01-262 as the matters set

forth herein relate to Defendant' s business activity in Loudoun County.


                                        THE PARTIES

       4.      Plaintiff Harry Kamin ("Mr. Kamin") is a resident of the state of Florida. Mr.

Kamin is a 50% Class A Member and co-Manager ofBNG Group LLC ("BNG" and/or the

"Company"). Mr. Kamin fairly and adequately represents the interests of the Company in



                                         Kamin v. Gunkova
                                           Page 1 of22
enforcing the rights of the Companies and in seeking to remedy Valeria Gunkova' s conduct as

set forth below.

       5.      Upon information and belief, Defendant Valeria Gunkova ("Ms. Gunkova") is a

resident of the Commonwealth of Virginia. Ms. Gunk:ova is the other 50% Class A Member of

BNG and co-Manager of BNG. Ms. Gunk:ova cannot fairly and adequately represent the interests

of the Company because it is Ms. Gunk:ova who has engaged in improper and fraudulent conduct

in violation of the Company's Operating Agreement and Virginia law.


                                   STATEMENT OF FACTS

       6.      On or about September 15, 2019, BNG was formed as a limited liability company

in the Commonwealth of Virginia, with Ms. Gunkova being the sole member ofBNG.

       7.      At the time ofBNG's formation, BNG rented office space located at 2 Pidgeon

Hill Drive, Suite 120, Sterling, Virginia 20165.

       8.      In or about February 2020, Ms. Gunk:ova's alleged husband, Jacob Bogatin ("Mr.

Bogatin"), appeared at Mr. Kamin's home in Florida on behalf of Ms. Gunk:ova. Mr. Bogatin

indicated that Ms. Gunk.ova was interested in buying the building located at 2 Pidgeon Hill

Drive, Sterling, Virginia 20165 (the "Property") and needed Mr. Kamin's financial assistance in

doing so. Mr. Bogatin, on behalf of Ms. Gunk.ova, represented that Mr. Kamin would be made a

50% Class A Member and Manager ofBNG ifhe provided a payment for the purchase of his

membership interest. Mr. Bogatin, on behalf of Ms. Gunkova, also represented that as Manager,

Mr. Kamin would have full access to all Company bank accounts and that no decisions with

regards to the Company would be made without Mr. Kamin's approval. Mr. Kamin indicated

that he would consider Ms. Gunkova's proposal.




                                         Kamin v. Gunkova
                                           Page 2 of22
       9.     Mr. Bogatin returned to Mr. Kamin's home on a second day. During the visit,

Mr. Bogatin, on behalf of Ms. Gunkova, spent several hours trying to convince Mr. Kamin to go

into business with Ms. Gunk:ova. Mr. Bogatin, on behalf of Ms. Gunkova, repeated Ms.

Gunk:ova's prior representations that Mr. Kamin would be made a 50% Class A Member and

Manager ofBNG, have full access to the Company's bank accounts, and decision-making power

for the Company. Mr. Kamin agreed that he would visit the Property to tour the Property and

meet Ms. Gunkova in further consideration of Ms. Gunkova' s proposal.

       10.    In or around March 2020, Mr. Kamin travelled to Virginia for approximately one

week per the parties' prior discussions. Mr. Bogatin picked up Mr. Kamin from the airport and

introduced him to Ms. Gunkova. During his visit, Mr. Kamin explored the Property and

attempted to speak with Ms. Gunkova about the business. Mr. Kamin was informed that he was

to direct all communications to Mr. Bogatin on behalf of Ms. Gunkova.

       11.     During Mr. Kamin's visit, Ms. Gunkova and Mr. Kamin agreed to add Mr.

Kamin as a 50% Class A Member and Manager ofBNG. Ms. Gunkova further agreed that Mr.

Kamin would have full access to the Company's bank accounts and that no decisions or actions

could be taken for the Company without Mr. Kamin's approval. As a result of Ms. Gunkova's

promises, Mr. Kamin agreed and issued and endorsed two checks, each in the amount of

$25,000.00 on March 9, 2020 for the purchase of his membership interest in BNG.

       12.    On or about May 14, 2020, Mr. Kamin again travelled to Virginia. During Mr.

Kamin's second visit, Mr. Bogatin, on behalf of Ms. Gunk:ova, provided Mr. Kamin with a

document believed by Mr. Kamin to be titled "Limited Liability Company Operating Agreement

of BNG Group, LLC" (the "Operating Agreement"), a copy of which is attached hereto as




                                        Kamin v. Gunkova
                                          Page 3 of22
Exhibit A. 1 The Operating Agreement was presented to and signed by Mr. Kamin which

memorialized the terms agreed to by Mr. Kamin and Mr. Gunkova, including (i) Mr. Kamin and

Ms. Gunkova each are a 50% Class A Member and Manager of the Company; (ii) Ms. Gunkova

is prohibited from taking unilateral action for the Company without the approval of Mr. Kamin;

and (iii) Mr. Kamin has full access and control of the Company's finances and bank accounts.

Mr. Kamin signed the Operating Agreement while at the Property, but was not given the original

signed Operating Agreement or a copy thereof at that time.

        13.    At or around the time of the signing of the Operating Agreement, Mr. Kamin

provided an additional two checks, each in the amount of $135,000.00, as a loan to the Company

for operating expenses relating to the Company's plan to purchase the Property. Copies of Mr.

Kamin's checks (with confidential account information redacted) are attached hereto as Exhibit

B.

       14.     BNG submitted an offer to purchase the Property. A copy of the document

believed by Mr. Kamin to be the Contract of Sale dated March 6, 2020 (produced by Ms.

Gunkova as GUNKOVA_000098 through 000115) is attached hereto as Exhibit C.

       15.     BNG obtained financing for the Property loan through Atlantic Union Bank. Ms.

Gunkova and Mr. Bogatin compiled all necessary documentation, including documentation from

Mr. Kamin, and coordinated with Atlantic Union Bank to obtain the loan.

       16.     On October 30, 2020, BNG, through Mr. Kamin and Ms. Gunkova, closed on the

purchase of the Property. BNG purchased the Property for $9,500,000. Mr. Kamin provided the

down payment as a loan to the Company. Notably, the loan documents submitted and signed by


1As set forth below, Mr. Kamin is now unsure as to whether the Operating Agreement provided to him
by Mr. Bogatin and Ms. Gunkova is a true and accurate copy of the Operating Agreement signed by Mr.
Kamin on May 14, 2020. In the event the Operating Agreement was forged by Ms. Gunkova and/or Mr.
Bogatin, Mr. Kamin's claims will proceed on the basis of the parties' oral agreement.

                                          Kamin v. Gunkova
                                            Page 4 of22
Mr. Kamin and Ms. Gunkova list Mr. Kamin as both a 50% Member and Manager ofBNG.

Copies of the relevant closing documents, which corroborate Mr. Kamin's 50% membership

interest in BNG and his status as BNG Manager, are attached collectively as Exhibit D.

       17.      Since becoming a Member in March 2020, Mr. Kamin requested information

about the Company on a weekly basis. Ms. Gunkova failed to fulfill Mr. Kamin's requests and

refused to provide Mr. Kamin with information about the Company's business and records.

       18.      Eventually, on or around January 2, 2021, Mr. Bogatin and Ms. Gunkova shipped

a box to Mr. Kamin containing three binders of documents. The box contained the Operating

Agreement attached hereto as Exhibit A represented by Mr. Bogatin, on behalf of Ms. Gunkova,

to Mr. Kamin to be the Operating Agreement signed by Mr. Kamin on May 14, 2020. Mr.

Kamin confirmed that the terms included in the Operating Agreement believed by Mr. Kamin to

be a true and accurate copy signed by him and delivered to him by Mr. Bogatin and Ms.

Gunkova were consistent with the terms agreed upon by Mr. Kamin and Ms. Gunkova,

including:

             a) the "Company shall be managed by a Board of Managers". Section 5.L3 . The

                Board of Managers consisting of two (2) Class A Members (for which Mr. Kamin

                and Ms. Gunkova are the only Class A Members) shall be elected and be

                responsible for performing the major functions of the company. Id; see also

                Section 5. L3 .3. Any action taken on behalf of the Company must be approved by

                both Class A Members, specifically,


                The Board of Managers shall have full, exclusive and complete discretion, power,
                and authority ... to manage, control, administer and operate the business and affairs
                of the Company for the purposes herein stated, and to make all decisions affecting
                such business and affairs, including without limitation, for Company purposes,
                the power to: ... sell, convey, assign, mortgage or lease any real estate and any


                                          Kamin v. Gunkova
                                            Page 5 of22
                  personal property ... Sell, dispose, trade or exchange Company assets ... Enter into
                  agreements and contracts ... Execute or modify leases with respect to any part or
                  all of the assets of the Company" seep. 15, Section 5.1.4 and 5.1.4.2;

             b) "the Board of Managers shall not undertake any of the following without the

                  approval of at least fifty-one percent (51 %) of the Interests of the Members",

                  including but not limited to any sale, lease or other disposition of the Company

                  assets. Section 5.1.5;

             c)   "Except as otherwise provided in this Agreement, wherever the Law or this

                  Agreement requires unanimous consent by the Board of Managers to approve or

                  take any action, that consent shall be given in writing and, in all cases, shall mean

                  the consent of all Managers." Section 5.2.6;

             d) the "Board of Managers shall keep or cause to be kept complete and accurate

                  books and records of the Company and supporting documentation of the

                  transactions with respect to the conduct of the Company's business." Section

                  8.2.1; and

             e) each Member has a right to inspect the books and records of the Company at any

                  time. Section 8.2.2.

       19.        Unbeknownst to Mr. Kamin at the time of his agreement to join the Company,

Ms. Gunkova never intended to fulfill the promises she made (or directed Mr. Bogatin to make)

to Mr. Kamin regarding his membership interest, his authority on behalf of the Company, and his

access to financial accounts and company information. Ms. Gunkova simply made the

representations to Mr. Kamin to induce Mr. Kamin into providing the finances Ms. Gunkova

needed to purchase the Property.




                                            Kamin v. Gunkova
                                              Page 6 of22
        20.      Beginning in December 2020, Mr. Kamin discovered that Ms. Gunk.ova was

further violating the terms of the parties' agreement, including but not limited to:

              a) Ms. Gunk.ova unilaterally hired employees for BNG without the knowledge or

                 consent of Mr. Kamin;

              b) Ms. Gunk.ova unilaterally entered into lease contracts with third-party tenants of

                 the Property without the knowledge or consent of Mr. Kamin;

              c) Unbeknownst to Mr. Kamin, Ms. Gunk.ova signed an agreement with a real estate

                 broker to begin listing the Property for marketing and sale in or around January

                 2021. Ms. Gunk.ova did not confer with Mr. Kamin prior to taking actions to list

                 the Property for sale, nor did she obtain his consent to take such action;

              d) During his membership, Mr. Kamin has provided the Company with loans over

                 the course of time that were requested by Mr. Bogatin on behalf of Ms. Gunk.ova.

                 To date, Mr. Kamin has provided the Company with funds totaling no less than

                 $2,529,342.78. Ms. Gunk.ova has directed those funds to activities outside of the

                 Company, including for personal use by Ms. Gunk.ova and for use in Ms.

                 Gunk.ova's other businesses;

              e) unilaterally making purported amendments to the Company's governance

                 documents with Mr. Kamin's knowledge and/or approval.

        21.      In or around January 2021, Mr. Kamin also learned that Mr. Bogatin had been

indicted by a grand jury on no less than forty-five (45) felony charges including (i) RICO

conspiracy, (ii) wire fraud, (iii) mail fraud, (iv) securities fraud, (v) filing false reports with the

SEC, (vi) falsification of books and records, (vii) money laundering conspiracy, (viii) and money




                                            Kamin v. Gunkova
                                              Page 7 of22
laundering. A copy of the Grand Jury Superseding Indictment is attached hereto as Exhibit E.

The case remains pending against Mr. Bogatin.

        22.     After repeatedly being shut out of Company business and after learning of Mr.

Bogatin's pending felony fraud charges, Mr. Kamin became increasingly concerned with his

investment. Mr. Kamin requested Ms. Gunk:ova provide him information related to BNG's bank

accounts in February 2021. Ms. Gunkova refused. Mr. Kamin attempted to receive the

information directly from the financial institutions, but was told repeatedly by such institutions

that the accounts only authorized Ms. Gunkova to request and receive such information.

        23.     Mr. Kamin requested he be added as an authorized signatory to BNG's operating

account at TD Bank. Ms. Gunkova again refused. Ms. Gunkova instead offered to open a new

account and add Mr. Kamin as an authorized holder on the account.

        24.     On February 9, 2021, Mr. Kamin, by counsel, sent Ms. Gunk:ova a letter objecting

to the sale of the Property and demanding certain information about the business of BNG. A

copy of the letter is attached hereto as Exhibit F and incorporated by reference as if fully set

forth herein.

        25.     To date, all of Mr. Kamin's requests have been rejected by Ms. Gunkova.

Notwithstanding this Court's June 7, 2021, Order compelling Ms. Gunkova to provide Mr.

Kamin full and complete financial records of the Company, Ms. Gunk:ova has failed to do so and

continues to refuse Mr. Kamin's access to the bank accounts.

        26.     Since receiving the February 9, 2021 letter, Ms. Gunkova has insisted that Mr.

Kamin is not a 50% Class A Member and/or Manager ofBNG. Contrary to the Company's

Operating Agreement provided to Mr. Kamin by Ms. Gunkova and Mr. Bogatin, and documents

submitted by Ms. Gunkova and Mr. Kamin to the banks on October 30, 2020, Ms. Gunkova now



                                          Kamin v. Gunkova
                                            Page 8 of22
asserts that Mr. Kamin is only a 20% Class A Member and is not entitled to any Company

information or management.

       27.      Ms. Gunk.ova also directed the Company's taxes for the year 2020 to be filed

indicating that Mr. Kamin holds only a 20% membership interest in the Company. During the

course of discovery, Mr. Kamin learned that an amended return was filed on June 2, 2021 ,

indicating that Mr. Kamin does indeed hold 50% membership interest in the Company.

Notwithstanding, Ms. Gunk.ova continues to assert that Mr. Kamin is not a 50% Class A Member

and/or Manager.

       28.      Additionally, Mr. Kamin has discovered, and continues to discover, that Ms.

Gunk.ova committed forgery by creating fabricated documents and signing the documents on

behalf of Mr. Kamin, including but not limited to:

             a) Unbeknownst to Mr. Kamin, Ms. Gunk.ova has held Mr. Kamin out to be a

                "Director" of her other business, Skin Logic LLC d/b/a Aria MediSpa, for which

                if Mr. Kamin has any involvement, Mr. Kamin is unaware. A copy of the

                Property's directory created by and maintained by Ms. Gunk.ova is attached hereto

                as Exhibit G;

             b) Unbeknownst to Mr. Kamin, Ms. Gunk.ova created an email address for Mr.

                Kamin as "Harry@ariamedispa.com" and exchanged over a thousand pages worth

                of emails to the banks with a signature block affixed to the emails to give the

                appearance that Mr. Kamin was the sender. In fact, Mr. Kamin did not learn of

                Ms. Gunk.ova's fraudulent communications with Atlantic Union Bank using this

                email address until the emails were compelled by this Court to be produced by

                Ms. Gunk.ova in discovery in this case;



                                          Kamin v. Gunkova
                                            Page 9 of22
c) Unbeknownst to Mr. Kamin, Ms. Gunkova and Mr. Bogatin created and

   registered a business known as "Sterling Investment LLC" on behalf of Mr.

   Kamin. Ms. Gunkova and Mr. Bogatin fabricated a "Certificate of Organization"

   purportedly issued on behalf of the Virginia State Corporation Commission

   reflecting Mr. Kamin as "Director" of that entity, a copy of which is attached

   hereto as Exhibit H;

d) Mr. Kamin learned that at some point after the purchase of the Property, Ms.

   Gunkova sent a letter to tenants of the Property and signed the letter as: "Harry D

   Kamin Director and CEO BNG Group LLC harry@bnggroupllc.com". Mr. Kamin had

   no involvement or knowledge of the letter and did not authorize anyone send out

   the letter on his behalf. A copy of the letter is attached hereto as Exhibit I;

e) Ms. Gunkova fabricated an Operating Agreement purportedly signed by Mr.

   Kamin on February 20, 2020. Mr. Kamin has no knowledge of signing the

   putative Operating Agreement and a review of the document indicates it has been

   altered to be give the appearance that it was signed by Mr. Kamin. A copy of the

   February 20, 2020 forged Operating Agreement is attached hereto as Exhibit J;

f) Ms. Gunkova fabricated a document titled "First Amendment to the Operating

   Agreement ofBNG Group LLC" dated March 14, 2020, and forged or caused to

   be forged Mr. Kamin's signature to the document, a copy of which is attached

   hereto as Exhibit K;

g) Ms. Gunkova fabricated a document titled "Power of Representation" dated

   March 14, 2020 and forged Mr. Kamin's signature to the document, a copy of

   which is attached hereto as Exhibit L. Additionally, Ms. Gunkova forged the



                             Kamin v. Gunkova
                               Page 10 of22
   notary block and signature of notary public Fatima El-Hage by lifting the block

   and signature from the Contract of Sale document (see Exhibit C) and pasting it to

   the Power of Representation document to appear as if Ms. El-Hage had notarized

   the Power of Representation document when in fact she confirmed she has never

   met Mr. Kamin nor seen this document;

h) Ms. Gunkova fabricated a document titled "Membership Interest Transfer

   Agreement" dated May 16, 2020, and forged Mr. Kamin's signature to the

   document, a copy of which is attached hereto as Exhibit M;

i) Ms. Gunkova fabricated a document titled "Amendment No. 1 to Contract of

   Sale" dated August 17, 2020, and forged Mr. Kamin's signature to the document,

   a copy of which is attached hereto as Exhibit N;

j) Ms. Gunkova fabricated a document titled "Amendment No. 2 to Contract of

   Sale" dated September 27, 2020, and forged Mr. Kamin's signature to the

   document, a copy of which is attached hereto as Exhibit O;

k) Ms. Gunkova fabricated a document titled "Amendment No. 3 to Contract of

   Sale" dated September 29, 2020, and forged Mr. Kamin's signature to the

   document, a copy of which is attached hereto as Exhibit P;

1) Ms. Gunkova fabricated a document titled "October 29, 2020 Members Meeting"

   dated October 29, 2020, and forged Mr. Kamin's signature to the document, a

   copy of which is attached hereto as Exhibit Q;

rn) Ms. Gunkova fabricated a document titled "Amended and Restated Operating

   Agreement ofBNG Group LLC" dated October 29, 2020, and forged Mr.




                            Kamin v. Gunkova
                              Page 11 of22
                 Kamin's signature to the document, a copy of which is attached hereto as Exhibit

                 R;

              n) Ms. Gunkova fabricated a document titled "Second Amendment to Operating

                 Agreement ofBNG Group LLC" dated October 29, 2020, and forged Mr.

                 Kamin's signature to the document, a copy of which is attached hereto as Exhibit

                 S;and

              o) Ms. Gunkova established and used (potentially still uses) an email account known

                 as "harry@bnggroupllc.com" to send and receive emails purportedly on behalf of

                 Mr. Kamin. Mr. Kamin was not aware of any email or user account set up for Mr.

                 Kamin for his BNG business, including but not limited to

                 "harry@bnggroupllc.com". Mr. Kamin has not been provided with the account

                 login and/or password information, although he has requested such information.

                 Accordingly, Mr. Kamin does not have access to the account(s) and is unable to

                 determine what, if any, emails are being sent by the account purportedly on his

                 behalf, or received by the account purportedly on his behalf.


                             COUNT I: SPECIFIC PERFORMANCE

        29.      The allegations contained in Paragraphs 1 through 28 above are incorporated by

reference as if fully set forth herein.

        30.      Pursuant to Section 9.3 of the Operating Agreement, Mr. Kamin and Ms.

Gunkova agreed:


        that irreparable injury will result from a breach of any provision of this
        Agreement and that money damages will be inadequate to fully remedy the injury.
        Accordingly, in the event of a breach or threatened breach of one or more of the
        provisions in this Agreement, any party who may be injured (in addition to any


                                           Kamin v. Gunkova
                                             Page 12 of22
       other remedies which may be available to that party) shall be entitled to one or
       more preliminary or permanent orders (i) restraining and enjoining any act which
       would constitute a breach, or (ii) compelling the performance of any obligation
       which, if not performed, would constitute a breach.

       31.     Ms. Gunkova has certain obligations pursuant to the Operating Agreement,

including to provide information to Mr. Kamin at his request.

       32.     Ms. Gunkova has breached her obligations pursuant to the Operating Agreement.

       33.     Mr. Kamin is entitled to an order of specific performance, compelling Ms.

Gunkova to tum over all books and records of the Company and declaring that Mr. Kamin is a

50% Class A Member and Manager ofBNG.


       WHEREFORE, Harry Kamin respectfully requests this Court enter an order for specific

performance in favor of Harry Kamin and against Valeria Gunkova, requiring Ms. Gunkova to

tum over all books and records of the Company, including the information requested in the letter

attached hereto as Exhibit A, and declaring Mr. Kamin as a 50% Class A Member and Manager

ofBNG, enjoining Ms. Gunkova from making any distribution of the Company's assets or sale

of Company property (including the Property as defined above) until this action is resolved and

Mr. Kamin's membership interest is confirmed, awarding attorneys' fees in favor of Mr. Kamin

pursuant to Va. Code § 13.1-1045, and for other relief this Court deems just and proper.


                         COUNT II: DECLARATORY JUDGMENT

       34.     The allegations contained in Paragraphs 1 through 33 above are incorporated by

reference as if fully set forth herein. Upon the agreement of Mr. Kamin and Ms. Gunkova, Mr.

Kamin became a 50% Class A Member and Manager ofBNG Group, LLC.




                                        Kamin v. Gunkova
                                          Page 13 of22
        35.     Mr. Kamin is unaware of any amendment to the Operating Agreement or any

transfer of membership interest made after he became a Member ofBNG Group, LLC in March

2020.

        36.     Ms. Gunkova has denied Mr. Kamin's his rights under the Operating Agreement

and has insisted that Mr. Kamin is only a 20% Class A Member of the Company. As a result,

Ms. Gunkova refuses to give Mr. Kamin access to manage and participate in the Company's

business.

        37.    · This case presents an actual case or controversy and is otherwise appropriate for

declaratory judgment pursuant to Va. Code§ 8.01-184.


        WHEREFORE, Harry Kamin respectfully requests this Court enter judgment in favor of

Harry Kamin and against Valeria Gunkova, declaring Mr. Kamin as a 50% Class A Member and

Manager of BNG, and for other relief this Court deems just and proper.


                          COUNT III: BREACH OF CONTRACT
                  (written contract pursuant to the Operating Agreement,
  or in the alternative, if the Operating Agreement is found to have been forged by Ms.
  Gunkova and/or Mr. Bogatin, oral contract pursuant to the parties' verbal agreement)

        38.     The allegations contained in Paragraphs 1 through 37 above are incorporated by

reference as if fully set forth herein.

        39.     Beginning in or around March 2020, Mr. Kamin and Ms. Gunkova entered into a

valid and enforceable agreement to conduct business through BNG, with each party obtaining

and holding 50% Class A membership interests.

        40.     Pursuant to their agreement, Mr. Kamin and Ms. Gunkova each served as a

Manager of the Company.




                                          Kamin v. Gunkova
                                            Page 14 of22
        41.       Pursuant to their agreement, Ms. Gunkova has certain obligations, including to

provide information to Mr. Kamin at his request. Ms. Gunkova is prohibited from acting without

the consent of Mr. Kamin in conducting the business of BNG.

        42.       Ms. Gunkova has breached the agreement, including but not limited to

unilaterally:

              a) Hiring employees of the Company;

              b) Hiring her husband, Mr. Bogatin, as a consultant of the Company;

              c) Entering into lease contracts on behalf of the Company with third-parties;

              d) Hiring a real estate broker to list and sell the Property;

              e) Forging documents purportedly signed by Mr. Kamin;

              f) Converting Company funds for personal use;

              g) Refusing the provide Mr. Kamin the books and records of the Company upon his

                 request;

              h) Concealing the Company's financial accounts by failing to authorize Mr. Kamin

                 access to the bank accounts;

              i) Directing the Company's tax returns to be filed with erroneous information; and

              j) Disregarding Mr. Kami's rights as a Member ofBNG Group LLC.

        43.      As a result of Ms. Gunkova's breaches, Mr. Kamin has been damaged in an

amount no less than $2,529,342.78.


        WHEREFORE, Harry Kamin respectfully requests this Court enter judgment in favor of

Harry Kamin and against Valeria Gunkova in an amount no less than $2,529,342.78, plus interest

at the statutory rate, attorneys' fees pursuant to Va. Code§ 13.1-1045, and for any other relief

this Court deems just and proper.


                                             Kamin v. Gunkova
                                               Page 15 of22
                         COUNT IV: BREACH OF FIDUCIARY DUTY
                              (Derivatively on behalf of BNG)

        44.     The allegations contained in Paragraphs 1 through 43 above are incorporated by

reference as if fully set forth herein.

        45.     As a Manager ofBNG, Ms. Gunk.ova is vested with special confidence and has

fiduciary duties to act in the best interests of the Company. Ms. Gunk.ova, in her capacity as

Manager of the Company, is required to perform her duties in compliance with the terms of the

Operating Agreement and with the laws of the Commonwealth of Virginia.

        46.     Ms. Gunk.ova breached her fiduciary duties, including but not limited to forging

Company documents, breaching the Company's Operating Agreement, and converting Company

funds for her personal or other use.

        47.     The actions of Ms. Gunk.ova were contrary to the terms of the Company's

Operating Agreement and were willful, deliberate, and at times, a knowing violation of criminal

law (with regards to the forgeries).

        48.     As a result of Ms. Gunk.ova's misconduct, BNG has been harmed in an amount no

less than $2,529,342.78.


        WHEREFORE, Harry Kamin respectfully requests this Court enter judgment in favor of

Harry Kamin, derivatively on behalf ofBNG Group LLC, and against Valeria Gunk.ova in an

amount no less than $2,529,342.78, plus interest at the statutory rate, attorney's fees pursuant to

Va. Code§ 13.1-1045, and for any other relief this Court deems just and proper.


                         COUNTV:          FRAUDULENTINDUCEMENT

        49.     The allegations contained in Paragraphs 1 through 48 above are incorporated by

reference as if fully set forth herein.


                                           Kamin v. Gunkova
                                             Page 16 of22
        50.     Ms. Gunkova, through her agent Jacob Bogatin, made false and material

misrepresentations to Mr. Kamin, including that Mr. Kamin would be transferred 50% Class A

membership interest in BNG and would be a Manager ofBNG, that Ms. Gunk:ova would be

prohibited from acting without the consent of Mr. Kamin with regards to Company business; and

that monies obtained from Mr. Kamin to the Company would be used for Company business and

expenses.

        51.     Ms. Gunkova made the aforementioned misrepresentations to induce Mr. Kamin

into entering into a business agreement with Ms. Gunk:ova and into providing large sums of

money to Ms. Gunk:ova (believed by Mr. Kamin to be for the Company).

        52.     Ms. Gunk:ova never intended to fulfill her promises, and instead made the

representations to obtain Mr. Kamin's money.

        53.     Mr. Kamin relied upon Ms. Gunk:ova's statements, not knowing them to be false,

and entered into the parties' agreement based on Ms. Gunkova's representations.

        54.     As a result, Mr. Kamin was defrauded by Ms. Gunkova and has been damaged.


        WHEREFORE, Harry Kamin respectfully requests this Court enter judgment in favor of

Harry Kamin and against Valeria Gunkova in an amount no less than $2,529,342.78, plus interest

at the statutory rate, punitive damages in the amount of $350,000, attorney's fees pursuant to

Prospect Development Co. v. Bershader, 258 Va. 75 (1999), and for any other relief this Court

deems just and proper.


                                   COUNT VI: CONVERSION

        55.     The allegations contained in Paragraphs 1 through 54 above are incorporated by

reference as if fully set forth herein.



                                          Kamin v. Gunkova
                                            Page 17 of22
         56.    Ms. Gunkova, through her agent Jacob Bogatin, made false and material

misrepresentations to Mr. Kamin, including that Mr. Kamin would be transferred 50% Class A

membership interest in BNG and would be a Manager ofBNG, that Ms. Gunk.ova would be

prohibited from acting without the consent of Mr. Kamin with regards to Company business; and

that monies obtained from Mr. Kamin to the Company would be used for Company business and

expenses.

         57.    Mr. Kamin was the rightful holder of no less than $2,529,342.78 prior to Ms.

Gunk.ova's fraudulent inducement of Mr. Kamin to loan those amounts to the Company.

         58.    Ms. Gunk.ova wrongfully exercised dominion and control over no less than

$2,529,342.78 by using the funds for her personal and other use without the consent of Mr.

Kamin.

         59.    As a result of Ms. Gunk.ova's conversion of Mr. Kamin's funds, Mr. Kamin has

been damaged in an amount no less than $2,529,342.78.


         WHEREFORE, Harry Kamin respectfully requests this Court enter judgment in favor of

Harry Kamin and against Valeria Gunk.ova in an amount no less than $2,529,342.78, plus interest

at the statutory rate, punitive damages in the amount of $350,000, attorney's fees pursuant to

Prospect Development Co. v. Bershader, 258 Va. 75 (1999), and for any other relief this Court

deems just and proper.


  COUNT VII: JUDICIAL EXPULSION PURSUANT TO VA. CODE§ 13.1-1040.l(S)(a)

         60.    The allegations contained in Paragraphs 1 through 64 above are incorporated by

reference as if fully set forth herein.




                                          Kamin v. Gunkova
                                            Page 18 of22
        61.     Mr. Kamin is a 50% Class A Member ofBNG Group, LLC with standing in BNG

Group, LLC to request the judicial expulsion of Ms. Gunk:ova.

        62.     Ms. Gunkova has engaged in wrongful conduct, including but not limited to

converting Company funds for her personal or other use, disregarding Mr. Kamin's rights as a

Member, and forging Company documents purportedly signed by Mr. Kamin.

        63.     Ms. Gunk:ova' s wrongful conduct has adversely and materially affected the

business ofBNG Group, LLC.


        WHEREFORE, Harry Kamin respectfully requests this Court enter judgment in favor of

Harry Kamin and against Valeria Gunkova, judicially expelling and dissociating Ms. Gunk:ova as

a Member ofBNG Group, LLC pursuant to Va. Code§ 13.l-1040.1(5)(a), terminating Ms.

Gunkova's rights to participate in the management and affairs of the Company, any other relief

this Court deems just and proper.


 COUNT VIII: JUDICIAL EXPULSION PURSUANT TO VA. CODE§ 13.1-1040.l(S)(b)

        64.     The allegations contained in Paragraphs 1 through 63 above are incorporated by

reference as if fully set forth herein.

        65.      Mr. Kamin is a 50% Class A Member ofBNG Group, LLC with standing in

BNG Group, LLC to request the judicial expulsion of Ms. Gunk:ova.

        66.     Ms. Gunk:ova has committed willful and/or persistent material breaches of the

Company's Operating Agreement,, including but not limited to converting Company funds for

her personal or other use, disregarding Mr. Kamin's rights as a Member, and forging Company

documents purportedly signed by Mr. Kamin.




                                          Kamin v. Gunkova
                                            Page 19 of22
        WHEREFORE, Harry Kamin respectfully requests this Court enter judgment in favor of

Harry Kamin and against Valeria Gunkova, judicially expelling and dissociating Ms. Gunkova as

a Member of BNG Group, LLC pursuant to Va. Code§ 13.1-1040.l(S)(b), terminating Ms.

Gunkova's rights to participate in the management and affairs of the Company, any other relief

this Court deems just and proper.


    COUNT IX: JUDICIAL EXPULSION PURSUANT TO VA. CODE§ 13.1-1040.l(c)

        67.     The allegations contained in Paragraphs 1 through 66 above are incorporated by

reference as if fully set forth herein.

        68.     Mr. Kamin is a 50% Class A Member ofBNG Group, LLC with standing in BNG

Group, LLC to request the judicial expulsion of Ms. Gunkova.

        69.     Ms. Gunkova has engaged in conduct that makes it not reasonably practicable to

carry on the business of the Company with Ms. Gunkova as a member, including but not limited

to converting Company funds for her personal or other use, disregarding Mr. Kamin's rights as a

Member, and forging Company documents purportedly signed by Mr. Kamin.


        WHEREFORE, Harry Kamin respectfully requests this Court enter judgment in favor of

Harry Kamin and against Valeria Gunkova, judicially expelling and dissociating Ms. Gunkova as

a Member ofBNG Group, LLC pursuant to Va. Code§ 13.1-1040.l(S)(c), terminating Ms.

Gunkova' s rights to participate in the management and affairs of the Company, any other relief

this Court deems just and proper.


                         COUNT X: (In the Alternative) DISSOLUTION

        70.     The allegations contained in Paragraphs 1 through 69 above are incorporated by

reference as if fully set forth herein.


                                          Kamin v. Gunkova
                                            Page 20 of22
        71.    Mr. Kamin is a 50% Class A Member ofBNG Group, LLC with standing in BNG

Group, LLC to request the judicial expulsion of Ms. Gunkova.

       72.     The Operating Agreement ofBNG Group, LLC (or alternatively, the parties' oral

agreement) requires the approval of both Mr. Kamin and Ms. Gunkova for all purposes of

managing and operating the Company's business.

       73.     Ms. Gunkova has ignored and refused to recognize all of Mr. Kamin's rights as a

Class A 50% Member and Manager of the Company.

       74.     Ms. Gunkova and Mr. Kamin have disagreed, and will continue to disagree, on

each and every major decision of the Company, including but not limited to distributions,

expenses, spending, and obligations, which all require both parties to consent.

       75.     As a result, the two 50% Class A Members of the Company are deadlocked.

       76.     If Ms. Gunkova is not removed as a member pursuant to Va. Code § 13 .1-

1040.1 (5)(a) and/or (b) and/or (c), it will not be reasonably practicable to carry on the business of

the Company in conformity with the parties' agreement.


       WHEREFORE, only if Ms. Gunkova is not removed as a member pursuant to Va. Code§

13.1-1040. l(S)(a) and/or (b) and/or (c), Harry Kamin respectfully requests this Court enter

judgment in favor of Harry Kamin and against Valeria Gunkova, judicially dissolving the

Company pursuant to Va. Code § 13 .1-104 7, any other relief this Court deems just and proper.


A TRIAL BY JURY IS DEMANDED.

                                              Respectfully submitted,

                                              HARRY KAMIN,
                                              By Counsel




                                          Kamin v. Gunkova
                                            Page 21 of22
Bethan~
BETHUNE BENES, PLLC
4290 Chain Bridge Road, Suite 302
Fairfax, VA 22030
Tel: (703) 260-9322
bbenes@bethunebenes.com
Counsel for Harry Kamin


                              CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Amended Complaint was emailed (by agreement of
counsel pursuant to Rule 1: 12) on this 27 th day of July 2021 to:

                                    Faisal Moghul, Esq.
                                moghul@moghullaw.com
                          Counsel for Defendant Valeria Gunkova




                                                ~
                                          BethanBenes




                                      Kamin v. Gunkova
                                        Page 22 of22
                                                         EXHIBIT


                                                         A



  LIMITED LIABILITY COMPANY OPERATING AGREEMENT

                            OF

                    BNG GROUP, LLC

            A Virginia Limited Liability Company




     THE MEMBERSHIP INTERESTS IN BNG GROUP, LLC
HAVE NOT BEEN REGISTERED UNDER THE SECURITIES ACT
OF 1933, AS AMENDED, OR UNDER ANY APPLICABLE STATE
SECURITIES LAW, AND MAY NOT BE TRANSFERRED,
ASSIGNED OR OTHERWISE DISPOSED OF EXCEPT IN
COMPLIANCE WITH ALL APPLICABLE SECURITIES LAWS.
THE MEMBERSHIP INTERESTS ARE ALSO SUBJECT TO
SUBSTANTIAL RESTRICTIONS ON TRANSFER UNDER         nus
AGREEMENT.
            LIMITED LIABILITY COMPANY OPERATING AGREEMENT
                                               OF
                                      BNG GROUP, LLC

        THIS LIMITED LIABILITY COMPANY OPERATING AGREEMENT (the
"Agreement") is made as of this 20 day of March 2020 by, between and among individuals
undersigned individuals whose names are set forth on the signature pages hereto and whose
names and addresses appear on Exhibit "A" attached hereto. For purposes of this Agreement,
the foregoing parties are further referred to each as a "Member" and collectively as the
"Members."

                                       BACKGROUND
                             The Members formed BNG GROUP, LLC
 (the "Company") as a Virginia limited liability company under the Virginia Limited Liability
Company Act by filing a Certificate of Organization with the Department of State of the
Commonwealth of Virginia on 17 day of September 2019. The Members intend this Agreement
to set forth the rights and obligations of each of the Members regarding the Company and each
other and to provide for the management and operation of the Company.

                                        AGREEMENT
        NOW, THEREFORE, for good and valuable consideration, the legal sufficiency of which
is hereby acknowledged, and intending to be legally bound hereby, the parties agree as follows:

                                           Section 1.
                                         Defined Terms

The following capitalized terms shall have the meanings specified in this Section I. Other terms
are defined in the text of this Agreement and throughout this Agreement, those terms shall have
the meanings respectively ascribed to them.

       Adjusted Capital Account Deficit means, with respect to any Member, the deficit
balance, if any, in the Member's Capital Account as of the end of the relevant taxable year, after
giving effect to the following adjustments:

                (i)    The deficit shall be decreased by the amounts which the Member is
obligated to restore pursuant to Regulation Section 1.704-l(b)(2)(ii)(c); and

               (ii)    The deficit shall be increased by the items described in Regulation Section
L704-(b)(2)(ii)-(d)(4), (5), and (6).
         Aqiusted Cgital Balance means, as of any day, a Member's 10181 Capital Contn"butions
less all amounts actually distributed to the Member pursuant to Sections 4.2.3.4.1 and 4.4 hereof.
If any Interest is transferred in accordance with the tenns of this Agmcmen~ the transferee shall
succeed to the Adjusted Capital Balance of the transferor to the extent the Adjusted Capital
Balance relates to the Interest transferred.

        Affiliate means, with respect to any Member. any Person: (i) in which the Member owns
or controls more than thirty-three and one-third percent (33 1/3%) of the voting intcR,sts; or (ii)
in which more than thirty-three and onc-thin:l pcrccm (33 113%) of the voting interests an: owned
or controlled by a Person who has a relationship with the Member describod in clause (i) above.

        Agreement means this Agreement, as amended from time to 1ime.
        Capital Account mean., the account to be maintained by the Company for each Member
in accordance with the following provisions:

               (j)     A Member's Capital Account shall be cn:dited with the McmbeJ''s Capital
Contributions, the amount of any Company liabilities assumed by the Member (or which are
secured by Company property distributed to the Member), the Member's distributive share of
Profit and any item in the nature of income or gain specially allocated to such Member pursuant
to the provisions of ~tion IV (other than Soction 4.3.3); and

               (ii)     A Member's Capital Account shall be debited with the amount of money
and the fair market value of any Company property distributed to the Member, the amount of any
liabilities of the Member assumed by the Company (or which arc secured by property
contributed by the Member to the Company), the Member's distributive share of Loss, and any
item in the nature of expenses or losses specially allocated to the Member pursuant to the
provisions of Section IV (other than Section 4.3.3).

         If any Interest is transfCITed pursuant to the terms of this Agreement, the transferee shalJ
succeed to the Capital Account of the transferor to the extent the Capital AccolUlt is attributable
to the transferred Interest. If the book value of Company property is adjusted pursuant to Section
4.3.3, the Capital Account of each Membc,r shall be adjusted to reflect the aggregate adjustment
in the same manner as if the Company had recogniz.ed gain or loss equal to the amount of such
aggregate adjustment. It is intended that the capital AccolDlts of all Members shall be
maintained in compliance with the provisions of Regulati011 Section 1.704-1 (b), and all
provisions of this Agreement relating to the maintenance of Capital Accounts shall be interpreted
and applied in a manner consistent with that Regulation.

        Cppital Contribution means the total amount of cash and the fair market value of any
other assets contributed (or deemed contributed under Regulation Section 1.704-l(b)(2)(ivXd))
to the Company by a Member. net of liabilities assumed by the Company or to which the assets
are subject.
        Qmital Proceeds means the gross receipts received by the Company from a Capital
Transaction.

                                                 2
        Capital TrapsactiQD means any transaction not in the ordinary course of business which
results in the Company's receipt of cash or other consideration other than Capital Contn"butions,
including, without limitation, proceeds of sales or exchanges or other dispositions of property not
in the ordinary course of business, finances, refinances. condemnations. recoveries of damage
awards and inswance proceeds.

        M Flow means all cash funds derived from operations of the Company (including
interest received on reserves), without reduction for any noncash eharges, but less cash fim<ls
used to pay current operating expenses and to pay or establish reasonable reserves for future
expenses, debt payments, capital improvements and replacements as determined by the Board of
Managers, Cash Flow shall not include Capital Proceeds but shall be increased by the reduction
of any reserve previously established.

        Clam means a group of Members that comprises the Class A

         The Members, subject to the tenns of Section S.1.6 below, may provide for the creation
of additional Classes of Members having such relative rights, powers and duties as the Members,
in their discretion, may determine, including but not limited to, rights, powers and duties senior
to any existing Class of Members.

       Cod~ means the Internal Revenue Code of 1986, as amended, or any corresponding
provision of any svcceecling law.

       Company means the limited liability company fonned in accordance with this
Asreement,

        lnteiest means a Person's interest as a Member in the Company including, without
limitation, the Member's share of the Profits and Losses of, and the right to receive distributions
mnn. the Company, and to consent to or approve actions by the Company, all in accordance with
the provisions of this Agreement and the Law.

       Involuntary Withdrawal means, with respect to any Member, the occurrence of any of the
following events:

               (i)    The Member makes an assignment for the benefit of creditors;

               (ii)   The Member tiles a voluntary petition of bankruptcy;

             (iii)   The Member is adjudged banknlpt or insolvent or there is entered against
the Member an order for relief in any bankruptcy or insolvency proceeding;

                (iv)   The Member files a petition or answer seeking for the Member any
reorganization., ammgcment, composition, readjustment, liquidation. dissoJution or similar relief
under any statute, law or regulation;



                                                3
                (v)      The Member seeks, consents to, or acquiesces in the appointment of a
trustee for, receiver for, or liquidation of the Member or of all or any substantial part of the
Member's properties;

               (vi)     The Member files an answer or other pleading admitting or failing to
contest the material allegations of a petition filed against the Member in any proceeding
described in Subsections (i) through (v);

                {vii) Any proceeding against the Member seeking reorgani2:ation, 8l'l'IIDICIDCIU,
composition, readjustment, liquidation, dissolution or similar relief under any statute, law or
regulation, continues for one hundred twenty (120) days after the commencement thereof, or the
appointment of a trustee, receiver or liquidator for the Member or all or any substantial part of
the Member's properties without the Member's agn:emcnt or acquicscmcc, which appointment
is not vacated or stayed for one hundred twenty (120) days or, if the appointment is stayed, for
one hundred twenty (120) days after the expiration of the stay during which period the
appointment is not vacated;

               (viii) The Member's death, Penuanent Disability (as heieinaftc:r defined) or
adjudication by a court of competent jmisdiction that 1he Member is incompe=t to manage the
Member's person or property;

               (ix)    A Member's ceasing to be eligible to own an interest in a Virginia limited
liability company;

               (x)     A Member's ceasing to meet the ovmership standards set forth at Section
3.3;
               (xi)    A Member's toss of his or her Virginia medical license;

               (xii) A material breach by a Member of a Membcrfs obligation hereunder
which is not cured within thirty (30) days of Member's receipt of notice thereof; or

       ~ means the Virginia Limited Liability Company Law of l 994t IS Virginia
Consolidated Statutes, Chapter 89, and its provisions pertaining to limited liability companicst as
amendod from time to time.

       Manager or Board of Mapaae!§ mean., the Person or Persons designated as such in
Section V as the same may be changed from time to time.

       Membct means each Person signing this Agreement and any Person who subsequently is
admitted as a member of the Company.

       Minimum Gain has the meaning set forth in Regulation Section 1.704-2(d). Minimum
Gain shall be computed separately for each Member in a manner consistent with the Re&Uiations
under Code Section 704(b).


                                                 4
        Negptjye Capital Account means a Capital Account with a balance of less than zero.

        Nogcourse DedJICJions has the meaning set forth in Regulation Section 1.704-2(b)(1).
The amount of Nonrecourse Deductions for a taxable year of the Company equals the net
increase, if any, in the amount of Minimum Gain during that taxable year, determined according
to the provisions of Regulation Section 1.704-2(c).

       NoDtCCOUrSC LiabililY means any liability of the Company with respect to which no
Member has personal liability detcnnined in acconiance with Code Section 152 and the
Regulations promulgated thereunder.

      Percentye means, as to a Member, the petCa1tage Interest set forth after the Member's
name on Exhibit "A" or Exhibit "B", as applicable, as mnended from time to time.

        PermQDAAt Disability means a Member's inability to engage in the practice of medicine
for twelve (12) consecutive months on account of disability or other illness.

         Person means and includes any individual, corporation, partnership, association, limited
liability company, trust, estate or other entity.  ·


       Positive Capital &count means a Capital Account with a balance greater than zero.
       :emfi! and~ mean, for each taxable year of the Company (or other period for which
Profit or Loss must be computed) the Company's taxable income or loss detennined in
accordance with Code Section 703(a), with the following adjustments:

               (i)    All items of income, gain. loss, deduction. or credit JeQuired to be stated
separately pmsuant to Code Section 703(a)(l) shall be included in computing taxable income or
loss;

              (ii)    Any tax-exempt income of the Company. not otherwise taken into account
in computing Profit or Loss, shall be included in computing taxable income or loss;

               (iii)   Any expenditures of the Company described in Code Section 7O5(a)(2)(B)
(or treated as such pursuant to Regulation Section 1.704-l(b)(2XivXi)), and not otherwise taken
into account in computing Profit or Loss, shall be subtracted from taxable income or loss;

               (iv)     Gain or loss resulting from any taxable disposition of Company property
shall be computed by reference to the adjusted book value of the property disposed of,
notwithstanding the fact that the adjusted book value differs from the adjusted basis of the
property for federal income tax: purposes;

               (v)   In lieu of the depreciation, amortization or cost recovery deductions
allowable in computing taxable income or loss, there shall be taken into account the depreciation
computed based upon the adjusted book value of the asset; and

                                                s
                (vi) Notwithstanding any other provision ofthis definition, any items which
are specially allocated pursuant to Section 4.3 hereof shall not be taken into account in
computing Profit or Loss.

       Realltion(a) mean the income tax regulations, including any temporary regulations,
from time to time promulgated under the Code.

        Transfer means, when used as a noun, any voluntary sal~ hypothecation, plc,dgc,
assignment. attachment or other transfer of the Interest held by any Member as permitted under
this Agreement; and, when used as a verb, means vobmtarily to sell, hypothecate, pledge, assign
or otherwise transfer a Member's Interest as permined under this Agreement.

       JJnit(s.) means units of ownership Interests of Members in the Company as reflected on
Exhibits "A" and "B" attached hereto.

          VOluntaty Withdrawal means a Member's dissociation with the Company by means other
than by a Transfer or an Invohmtary Withdrawal.

                                           Section IL
                         Formatio■ ••d Name: Office; Purpose; Tena

        2. l    Organmtion. The Company has been organized as a Virginia limited liability
company pursuant to the Law and the provisions of this Agreement and has caused lhe
Certificate of Organization in the form attached as Exhibit "C" to be executed and filed with the
Virginia Department of State on 20 day of February 2020.

    2.2      Name of the Compau. Tile name of the Company ii "(BNG GROUP, LLC)"
          The Company may do business under any other name or names which the Board of
Managers selects from time to time.

          2.3   Pu[poscs. The Company is organized to (i) management services and other
related products and services; (ii) to make, enter into, and pcrfonn any contracts and other
undertakings, and to engage in any activities and transactions as may be ancillary to or necessary
or advisable to carry out the foregoing purposes; and (iii) to engage in such other )awful
businesses and activities as the Managers may determine are reasonably related to the foregoing
purposes.
        2.4    .Imm. The existence of the Company commenced on the date the Certificate was
filed with the Department of State of the Commonwealth of Virginia pursuant to Section 8914 of
the Law. The Company shall dissolve on the first to occur of the following events: (a) the
decision by the Members to dissolve the Company; or (b) the date the Company may be
otherwise dissolved by operation oflaw or judicial decree.

        2.5 Registered Qffi.ce: Principal Office. The initial registered office of the Company
in the Commonwealth of Virginia shall be located at 2 Pidgeon Hill Dr Suite 120, Sterling, VA


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